Case 4:18-cr-00190-MAC-CAN Document 29 Filed 02/18/19 Page 1 of 2 PageID #: 68



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  UNITED STATES OF AMERICA               §
                                         §          No. 4:18CR190
  v.                                     §          Judge Crone
                                         §
  STEPHEN CHASE CLARK                    §

                           ELEMENTS OF THE OFFENSE

       The defendant, Stephen Chase Clark (Clark), is charged in Counts One and Two

 of the Indictment with violating 18 U.S.C. § 2422(b) (Attempted Coercion and

 Enticement) and 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1) (Receipt of Child

 Pornography), respectively. The elements of the offense that the government must prove

 beyond a reasonable doubt, but that Clark would admit if his pleas are accepted, are:

 Count One: Attempted Coercion and Enticement of a Minor

       1.     The defendant knowingly persuaded, induced, enticed, or coerced, and
              attempted to persuade, induce, entice, or coerce, an individual to engage in
              any sexual activity, as charged;

       2.     The defendant used a means and facility of interstate and foreign commerce
              to do so;

       3.     The defendant believed that such individual was less than 18 years of age;
              and

       4.     That had the sexual activity actually occurred, the defendant could have
              been charged with violations of the laws of the state of Texas, including
              Aggravated Sexual Assault, Texas Penal Code § 22.021.
Case 4:18-cr-00190-MAC-CAN Document 29 Filed 02/18/19 Page 2 of 2 PageID #: 69



 Count Two: Receipt of Child Pornography

       1.     The defendant knowingly received an item(s) of child pornography;

       2.     The item of child pornography had been shipped or transported in or
              affecting interstate or foreign commerce by any means, including by
              computer; and

       3.     When the defendant received the item(s), the defendant knew the item was
              child pornography.


                                                 Respectfully submitted,

                                                 JOSEPH D. BROWN
                                                 UNITED STATES ATTORNEY


                                                  /s/
                                                 Marisa J. Miller
                                                 Assistant United States Attorney
                                                 New York Bar No. 4366415
                                                 101 East Park Boulevard, Suite 500
                                                 Plano, Texas 75074
                                                 (972)509-1201
                                                 (972)509-1209 (fax)
                                                 Marisa.Miller@usdoj.gov

                            CERTIFICATE OF SERVICE

       I certify that a copy of this document was served by electronic filing to opposing

 counsel on February 18, 2019.


                                                 /s/
                                                 Marisa J. Miller

                                             2
